Case 2:03-CV-02621-SHI\/|-tmp Document 69 Filed 08/19/05 Page 1 of 2 Page|D 61

UNITED sTATEs DISTRICT cotm'r F"'ED BY *%- m3-
wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 95 AUG |9 AH 5‘ 52
WGM§$M. GOU$_U
CI_ERK, U.S. §`)!STF\`§CT OOURT

l OFU=H§. o
ROBERT MULLINS, mg `“ “"‘ ““'*W“"

Plaintiff,
v. Cv. No. 03-2621-Ma

ZAHRA UMLANI, BENCHMARK REALTORS,
LLC., and FICTITIOUSLY NAMED
DEFENDANTS,

Defendants.

J'UDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT Is oRDERED AND ADJUDGED that this action is dismissed With
prejudice, in accordance with the Consent Order of Dismissal,
docketed August 9, 2005.

APPROED(VM`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

A,~.) M~L :a=, Q-==»f THoMAsM.oou.n

DATE CLEZ;A,@,M/ /@r,,MW/¢»/

CBy) DEPUTY c'LERK 0

 

 

 

S l . v \ pin
. \
t 1 ( d mt t K 1
‘\{ `.’ 'V ".B\ §§ 9 9 (.\ 19 inc E} S ed 1'|€(}( a C@
\. C` \.i e 8 a f viz g_ _; :5,_ , .j::,_,

69‘!

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:03-CV-02621 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

Michael D. Herrin

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/1emphis7 TN 38103

Victoria Smith RoWe

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/1emphis7 TN 38103

J ames F. Kyle

McLEARY DOMICO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/1emphis7 TN 38103

J ill 1\/1. Madajczyk
WOLFF ARDIS

5810 Shelby Oaks Dr.
1\/1emphis7 TN 38134

Duncan Lott

LAW OFFICES OF DUNCAN LOTT
305 W. College St.

Booneville, MS 38829

Honorable Samuel Mays
US DISTRICT COURT

